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                                                            Our File No.: 113005

                                                                                        UNITED STATES DISTRICT COURT
                                                                                        EASTERN DISTRICT OF NEW YORK



                                                            Nirvana Singh,                                               Docket No:

                                                                                   Plaintiff,                            COMPLAINT

                                                                                        vs.
                                                                                                                         JURY TRIAL DEMANDED
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                          GARDEN CITY, NEW YORK 11530




                                                            Mercantile Adjustment Bureau, LLC,

                                                                                  Defendant.


                                                                    Nirvana Singh (hereinafter referred to as “Plaintiff”), by and through the undersigned
                                                            counsel, complains, states and alleges against Mercantile Adjustment Bureau, LLC (hereinafter
                                                            referred to as “Defendant”), as follows:
                                                                                                    INTRODUCTION
                                                                    1.     This action seeks to recover for violations of the Fair Debt Collection Practices
                                                            Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).
                                                                                                JURISDICTION AND VENUE
                                                                    2.     This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                                                            and 15 U.S.C. § 1692k(d).
                                                                    3.     Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the
                                                            events or omissions giving rise to the claim occurred in this Judicial District.
                                                                    4.     At all relevant times, Defendant conducted business within the State of New
                                                            York.




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                                                                                                        PARTIES

                                                                    5.     Plaintiff is an individual who is a citizen of the State of New York residing in
                                                            Suffolk County, New York.
                                                                    6.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
                                                                    7.     On information and belief, Defendant Mercantile Adjustment Bureau, LLC, is a
                                                            New York Limited Liability Company with a principal place of business in Erie County, New
                                                            York.
                                                                    8.     Defendant is regularly engaged, for profit, in the collection of debts allegedly
                                                            owed by consumers.
                                                                    9.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                                                                                    ALLEGATIONS

                                                                    10.    Defendant alleges Plaintiff owes a debt (“the Debt”).
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                                                                    11.    The Debt was primarily for personal, family or household purposes and is
                                                            therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                                    12.    Sometime after the incurrence of the Debt, Plaintiff fell behind on payments
                                                            owed.
                                                                    13.    Thereafter, at an exact time known only to Defendant, the Debt was assigned or
                                                            otherwise transferred to Defendant for collection.
                                                                    14.    In its efforts to collect the debt, Defendant contacted Plaintiff by letter (“the
                                                            Letter”) dated December 15, 2016. (“Exhibit 1.”)
                                                                    15.    The Letter was the initial communication Plaintiff received from Defendant.
                                                                    16.    The Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).

                                                                                                   FIRST COUNT
                                                                                      Violation of 15 U.S.C. §§ 1692g and 1692e
                                                                                                   Debt Validation

                                                                    17.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.




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                                                                   18.     15 U.S.C. § 1692g provides that within five days after the initial communication
                                                            with a consumer in connection with the collection of any debt, a debt collector shall, unless the
                                                            information is contained in the initial communication or the consumer has paid the debt, send the
                                                            consumer a written notice containing certain enumerated information.
                                                                   19.     15 U.S.C. § 1692g(a)(3) requires the notice to include a statement that unless the
                                                            consumer, within thirty days of receipt of the notice, disputes the validity of the debt, or any
                                                            portion thereof, the debt will be assumed valid by the debt collector.
                                                                   20.     There is no requirement that the consumer dispute the debt in writing.
                                                                   21.     It is a violation of the FDCPA to require disputes be made in writing.
                                                                   22.     It is a violation of the FDCPA to include language in the letter that overshadows
                                                            the required 15 U.S.C. § 1692g(a)(3) statement.
                                                                   23.     It is a violation of the FDCPA to include language in the letter that contradicts the
                                                            required 15 U.S.C. § 1692g(a)(3) statement.
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                                                                   24.     It is a violation of the FDCPA to include language in the letter that, when
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                                                            examined from the perspective of the least sophisticated consumer, overshadows the required §
                                                            1692g(a)(3) statement.
                                                                   25.     It is a violation of the FDCPA to include language in the letter that, when
                                                            examined from the perspective of the least sophisticated consumer, contradicts the required §
                                                            1692g(a)(3) statement.
                                                                   26.     It is a violation of the FDCPA to include language in the letter that, when
                                                            examined from the perspective of the least sophisticated consumer, leads the least sophisticated
                                                            consumer to believe that her dispute must be made in writing.
                                                                   27.     The Letter states, “Please send payment or correspondence to: Mercantile
                                                            Adjustment Bureau, LLC PO Box 9055 Williamsville NY 14231-9055.”
                                                                   28.     Disputes need not be in writing. Hooks v. Forman, Holt, Eliades & Ravin, LLC,
                                                            717 F.3d 282 (2d Cir. 2013).
                                                                   29.     Disputes may be made orally.
                                                                   30.     The language concerning correspondence with Defendant overshadows the
                                                            required 15 U.S.C. § 1692g(a)(3) statement.
                                                                   31.     The language concerning correspondence with Defendant contradicts the required
                                                            15 U.S.C. § 1692g(a)(3) statement.



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                                                                    32.    The language concerning correspondence with Defendant, when examined from
                                                            the perspective of the least sophisticated consumer, overshadows the required § 1692g(a)(3)
                                                            statement.
                                                                    33.    The language concerning correspondence with Defendant, when examined from
                                                            the perspective of the least sophisticated consumer, contradicts the required § 1692g(a)(3)
                                                            statement.
                                                                    34.    The language concerning correspondence with Defendant, when examined from
                                                            the perspective of the least sophisticated consumer, leads the least sophisticated consumer to
                                                            believe that her dispute must be in writing.
                                                                    35.    Defendant has violated § 1692g, as the above-referenced language overshadows
                                                            the information required to be provided by that Section. See Vetrano v. CBE Grp., Inc., 2016
                                                            WL 4083384 (E.D.N.Y. Aug. 1, 2016).
                                                                    36.    15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
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                                                            misleading representation or means in connection with the collection of any debt.
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                                                                    37.    While § 1692e specifically prohibits certain practices, the list is non-exhaustive,
                                                            and does not preclude a claim of falsity or deception based on any non-enumerated practice.
                                                                    38.    Collection notices are deceptive if they can be reasonably read to have two or
                                                            more different meanings, one of which is inaccurate.
                                                                    39.    The question of whether a collection letter is deceptive is determined from
                                                            perspective of the “least sophisticated consumer.”
                                                                    40.    The collection letter could be reasonably interpreted by the least sophisticated
                                                            consumer as incorrectly representing that a dispute must be communicated in writing. See
                                                            Vetrano v. CBE Grp., Inc., 2016 WL 4083384 (E.D.N.Y. Aug. 1, 2016); Balke v. Alliance One
                                                            Receivables Management, Inc., No. 16-CV-5624(ADS)(AKT), 2017 WL 2634653 (E.D.N.Y.
                                                            June 19, 2017).
                                                                    41.    Because the Letter is reasonably susceptible to an inaccurate reading, as described
                                                            above, it is deceptive within the meaning of the FDCPA.
                                                                    42.    The least sophisticated consumer would likely be deceived by the Letter.
                                                                    43.    The least sophisticated consumer would likely be deceived in a material way by
                                                            the Letter.




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                                                                    44.     The misrepresentation is material because it could impede the least sophisticated
                                                            consumer’s ability to respond to the letter or dispute the debt.
                                                                    45.     Defendant has violated § 1692e by using a false, deceptive, and misleading
                                                            representation in its attempt to collect a debt.
                                                                                                    SECOND COUNT
                                                                                        Violation of 15 U.S.C. §§ 1692e and 1692g
                                                                                                   Amount of the Debt

                                                                    46.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                    47.     The Debt was incurred on a Kohl’s credit card underwritten by Capital One, N.A.
                                                                    48.     The Letter sets forth an “Current Balance” of $1,646.25.
                                                                    49.     The Letter further states, “The account balance may periodically increase due to
                                                            the addition of accrued interest as provided in your agreement with the original creditor or as
                                                            otherwise provided by law.”
                                                                    50.     The Letter fails to provide information that would allow Plaintiff to determine
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                                                            what Plaintiff will need to pay to resolve the debt at any given moment in the future.
                                                                    51.     The Letter fails to provide information that would allow the least sophisticated
                                                            consumer to determine what he or she will need to pay to resolve the debt at any given moment in
                                                            the future.
                                                                    52.     The Letter fails to provide information that would allow the least sophisticated
                                                            consumer to determine the amount of interest owed.
                                                                    53.     For instance, the Letter fails to indicate the applicable interest rate.
                                                                    54.     For instance, the Letter fails to indicate the date of accrual of interest.
                                                                    55.     For instance, the Letter fails to indicate the amount of interest during any
                                                            measurable period.
                                                                    56.     The Letter fails to contain an explanation, understandable by the least
                                                            sophisticated consumer, of any fees and interest that may cause the amount stated to increase.
                                                                    57.     The Letter fails to state what part of the amount stated is attributable to principal.
                                                                    58.     The Letter fails to state what part of the amount stated is attributable to interest.
                                                                    59.     The Letter fails to state what part of the amount stated is attributable to late fees.
                                                                    60.     The Letter fails to state what part of the amount stated is attributable to other fees.




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                                                                    61.        The Letter fails to state that the creditor will accept payment of the amount set
                                                            forth in full satisfaction of the debt if payment is made by a specified date.
                                                                    62.        The Letter, because of the aforementioned failures, would render the least
                                                            sophisticated consumer unable to determine the minimum amount owed at the time of the Letter.
                                                                    63.        The Letter, because of the aforementioned failures, would render the least
                                                            sophisticated consumer unable to determine what she will need to pay to resolve the debt at any
                                                            given moment in the future.
                                                                    64.        The Letter, because of the aforementioned failures, would render the least
                                                            sophisticated consumer unable to determine the amount of his or her debt.
                                                                    65.        The Letter, because of the aforementioned failures, would render the least
                                                            sophisticated consumer unable to determine the amount of her debt because the consumer would
                                                            not know whether interest and fees would continue to accrue, or whether the amount of the debt
                                                            was static.
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                                                                    66.        The Letter, because of the aforementioned failures, did not convey “the amount of
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                                                            the debt” clearly from the perspective of the least sophisticated consumer.
                                                                    67.        The Letter, because of the aforementioned failures, did not convey “the amount of
                                                            the debt” accurately from the perspective of the least sophisticated consumer.
                                                                    68.        The Letter, because of the aforementioned failures, did not convey “the amount of
                                                            the debt” without ambiguity from the perspective of the least sophisticated consumer.
                                                                    69.        The Letter, because of the aforementioned failures, violates 15 U.S.C. § 1692e
                                                            and 15 U.S.C. § 1692g. See Balke v. Alliance One Receivables Management, Inc., No. 16-cv-
                                                            5624(ADS)(AKT), 2017 WL 2634653 (E.D.N.Y. June 19, 2017).

                                                                                                        JURY DEMAND

                                                                    70.        Plaintiff hereby demands a trial of this action by jury.

                                                                                                    PRAYER FOR RELIEF
                                                                    WHEREFORE, Plaintiff respectfully requests judgment as follows:
                                                                          a.      Damages against Defendant pursuant to 15 U.S.C. § 1692k; and
                                                                          b.      Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and
                                                                          c.      Plaintiff's costs; all together with



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                                                                     d.    Such other relief that the Court determines is just and proper.


                                                            DATED: December 14, 2017

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                                                                                                      By: _/s/ Craig B. Sanders ____________
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